     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 1 of 30




                             UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                   HOUTON DIVISION

UNITED STATES OF AMERICA                         '
                                                 '
v.                                               '   CRIMINAL NO. H-18-710-S
                                                 '
CLARENCE ROLAND, III                             '
   a.k.a. Joshua Stein                           '


           UNITED STATES’ RESPONSE TO OMNIBUS MOTION TO DISMISS

TO THE HONORABLE LEE H. ROSENTHAL:

       COMES NOW the United States of America, by and through Jennifer B. Lowery, the

Acting United States Attorney for the Southern District of Texas, and the undersigned Assistant

United States Attorneys in opposition to defendant’s Omnibus Motion to Dismiss.

                                     I.      Procedural History

       Defendant Roland was charged by indictment with conspiracy to commit bank and wire

fraud on December 12, 2018. (Dkt.1). On April 2, 2019, the indictment was superseded adding

charges for wire fraud (counts 2-4) and monetary transactions in criminally derived property

(counts 5-10). (Dkt.5). A writ of habeas corpus ad prosequendum was issued for Roland, who was

a prisoner of the State of California serving an eleven (11) year prison sentence. Roland’s initial

appearance before United States Magistrate Judge Palermo was on April 29, 2019. On April 30,

2019, Roland moved to continue his detention hearing. (Dkt.14). On May 14, 2019, following a

detention hearing, Roland was ordered detained pretrial. (Dkt.18).

       On May 23, 2019, Roland moved for additional time to file pretrial motion, which was

granted on June 4, 2019, following a sealed hearing. (Dkt.24-27). On July 24, 2019, Roland

moved to continue the trial. (Dkt.28). Roland’s motion was granted, and trial was scheduled for

November 18, 2019. (Dkt.30). On October 16, 2019, Roland moved to have the case declared
                                                1
     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 2 of 30




complex and also filed a motion to continue the trial. (Dkt.35&36). On October 21, 2019, the

motions were granted, and the trial was rescheduled to April 1, 2020). (Dkt.37). On February 12,

2020, Roland, pro se, made a written request of the court for a list of documents which was

responded to by the Office of the Clerk of the Southern District of Texas. (Dkt.38&39). March

17, 2020, another sealed hearing was held. (Dkt.47).

       A joint motion for continuance of the trial was filed March 16, 2020, citing the pandemic

as a basis to continue the trial. (Dkt.51). An order continuing the trial until June 15, 2020, was

issued on March 18, 2020. (Dkt.48). Due to the pandemic additional motions to continue were

filed and granted. (Dkt. 51, 52, 54&55).

       On April 27, 2021, another sealed hearing was held before this Court. (Dkt.61). On April

30, 2021, Roland moved for additional time to file his motions. (Dkt.58). On May 3, 2021, Roland

moved to revoke the pretrial detention order. (Dkt.59). On May 10, 2021, a hearing was held and

Roland was released from custody on conditions of release. (Dkt.65). The court ordered the trial

and motions deadlines to be amended, and the trial was reset until September 27, 2021. On June

8, 2021, Roland filed this pro se omnibus motion to dismiss the indictment. (Dkt.70).

                                   II.     Earlier Criminal Cases

       A. State of California

       In 2015, Roland was first indicted in San Diego County, California, and charged with

various violations of California State laws, in case number SCD25517. (Exhibit A, unpublished

opinion of the Court of Appeal, Fourth Appellate District Division One of the State of California

filed 9/11/2020, p.3). The state indictment was later superseded in 2017. (Exhibit A, p.3).

Although Roland claims the San Diego indictment charged him with “misapplication of Truth in

Lending Act” laws, in addition to California laws, the San Diego indictment only charged Roland



                                                2
     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 3 of 30




with violating California Penal Code Sections 115(a) and 487(a). (Exhibit B, 33 count San Diego

indictment in case SCD255517). Roland was tried on the superseding indictment and found guilty

by a jury of four counts of grand theft of personal property and 14 counts of filing a false

instrument. The remainder of the counts were dismissed by the state court due to statute of

limitations issues. (Exhibit A, pp.2&27). Roland testified on his own behalf at trial, making many

of the same claims he asserts in his Omnibus Motion to Dismiss the indictment. At the sentencing

hearing, prior to imposing an 11-year state prison sentence, the state trial court stated:

               [Roland’s] claim that he thought what he was doing was
               completely legal under the various statutes and everything,
               I think is nonsense. For anybody to claim that they
               thought you could send a letter to a mortgage holder and in
               20 days have the property now free and clear because they
               didn’t respond to a letter is nonsense. And the Defendant
               is clearly an intelligent man. So for him to be asserting
               that that’s what he honestly thought, I think is . . .
               nonsense. I don’t believe for a second that he really
               thought that . . . this property was free and clear. And I
               think that’s evidenced by the fact that he utilized
               fraudulent signatures of people, signing in somebody else’s
               name, signing on behalf of an entity that the Defendant
               knew full well he was not an authorized representative of
               them. Having notarizations that were fraudulent, clearly
               fraudulent, I think evidences the knowledge and intent of
               the Defendant.”

(Exhibit A, p.28).

         Roland appealed his conviction and the sentence enhancement imposed.                Roland’s

complaints on appeal were rejected by the California Appellate court. The case was remanded at

the request of the California Attorney General for resentencing as it relates to a mandatory fine

that was not imposed. (Exhibit A, p.2).

       Subsequent to his conviction and sentencing in San Diego County, Roland was arrested

and brought to Houston on a writ of habeas corpus ad prosequendum to stand trial in this cause.



                                                  3
     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 4 of 30




        B. Eastern District of Texas (EDTX 4:17-cr-177)

        On September 11, 2017, a criminal complaint as to Arlando Jacobs and Clarence Roland

was filed in the Sherman Division of the EDTX. (Dkt.1). At the time of the filing of the complaint,

Roland was in pretrial detention on the San Diego charges. Roland was brought to Sherman on a

writ of habeas corpus ad prosequendum issued on October 18, 2017, after Roland had been indicted

on the EDTX charges. (Dkt.14&22). Roland was ordered detained pending trial. (Dkt.36). The

EDTX indictment was superseded on February 14, 2018. (Exhibit C). Roland was charged in count

one with conspiracy to commit wire fraud and in count six with aggravated identity theft.

        An agreed motion to declare the case complex was filed on April 13, 2018 as well as an

Agreed Motion for a Special Setting. (Dkt.49-51). On April 19, 2018, the Court entered an Order

Finding the Case complex and granted the Motion for a Special Jury Trial Setting. (Dkt.52 & 53).

On April 19, 2018, a Pretrial Order was entered scheduling a Pretrial Conference and Jury Trial

for September 17, 2018. (Dkt.54). A month later on May 21, 2018, Roland filed an Assertion of

Right to Speedy Trial in which he indicated his agreement with the September 2018 trial date but

asked that it be set as a priority trial with no further resets. (Dkt.62).

        Roland was interviewed by federal agents, in the presence of his attorney on May 29, 2018,

under a proffer agreement. On May 30, 2018, Roland signed a plea agreement with the EDTX

agreeing to plead guilty to Count one of the superseding indictment. (Exhibit D). On July 17,

2018, at the request of Roland, a change of plea hearing was scheduled before the district court on

July 24, 2018. (Dkt.69). The day prior to the scheduled plea, Roland moved for a Change of Venue.

(Dkt.70).

        On August 6, 2018, the United States Attorney’s Office for the EDTX moved to dismiss

the indictment as to Roland. (Dkt.71). The court granted the motion to dismiss without prejudice



                                                    4
     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 5 of 30




on August 7, 2018. (Dkt.72). Roland was subsequently returned to California where he stood trial

in San Diego on the pending state criminal indictment.

       On February 24, 2020, while in custody in Houston pending trial in this cause, Roland filed

a Motion to Vacate under 28 U.S.C. 2255 in the EDTX (Dkt.109) which was dismissed on April

30, 2021. (Dkt.125).

                                        III.    Legal Argument

       Roland has raised six claims in his motion to dismiss the indictment. Federal Rule of

Criminal Procedure 12(b) permits a defendant to raise by pretrial motion “any defense, objection,

or request that the court can determine without a trial on the merits,” including “a defect in the

indictment.” Fed. R. Crim. P. 12(b)(3)(B). In the Fifth Circuit, “[t]he propriety of granting a

motion to dismiss an indictment . . . by pretrial motion is by-and-large contingent upon whether

the infirmity in the prosecution is essentially one of law or involves determinations of fact. . . . If

a question of law is involved, then consideration of the motion is generally proper.” United States

v. Fontenot, 665 F.3d 640, 644 (5th Cir. 2011) (omissions in original) (internal quotation marks

omitted). However, “[a] defendant may not properly challenge an indictment, sufficient on its

face, on the ground that the allegations are not supported by adequate evidence, for an indictment

returned by a legally constituted and unbiased grand jury, if valid on its face, is enough to call for

trial of the charge on the merits.” United States v. Mann, 517 F.2d 259, 267 (5th Cir. 1975); see

also Costello v. United States, 350 U.S. 359, 363 (1956).       Each claim raised by Roland in his

Omnibus Motion to Dismiss the Indictment is without merit and his motion should be denied.

       A. Court’s Jurisdiction

       Roland claims this court lacks jurisdiction to preside over this criminal case because he

was “engaged in a civil administrative process” when he committed the acts outlined in the



                                                  5
      Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 6 of 30




indictment. Roland’s argument ignores the fact he has not been charged with violating a “civil

administrative process” or with violating The Truth in Lending Act (TILA § 112). Rather, the

indictment alleges Roland planned and carried out a scheme to defraud which relied upon false

pretenses and representations to obtain money, in violation of several federal criminal statutes

found in Title 18, United States Code. See Superseding Indictment (Dkt.5).

         Roland seeks a pretrial ruling that his “proprietary” process (Dkt.7 p.2), which involved

making false statements and creating false pretenses, was authorized under civil law. He also wants

a judicial finding that he cannot be held accountable criminally for any of his conduct in executing

that process. Roland’s motion seeks a legal ruling on questions that should be addressed by a fact

finder at trial.

         The Truth in Lending Act (TILA) provides rules for certain home-secured credit and

provides a cause of action against creditors that fail to make required disclosures. 15 U.S.C. §§

1601 et seq.; 12 C.F.R. §226 (“Regulation Z”). Under the regulations, consumers have the right

to cancel certain credit transactions that involve a lien on the consumer’s principle dwelling if

certain conditions are met. 12 C.F.R § 226.1.

         Although the centerpiece of Roland’s “proprietary 4-Phased Civil Administrative Non-

Judicial Quiet Title process” is the right to rescind under TILA (Exhibit A, p. 20), TILA sets out

as exempt from the right to rescind, residential mortgage transactions. 1 12 C.F.R. §226.23(f)(1).

As Roland has repeatedly emphasized, “for where, as here, the statute’s language is plain, ‘the sole

function of the courts is to enforce it according to its terms.’” United States v. Ron Pair

Enterprises, Inc., 489 U.S. 235, 241, 109 S.Ct. 1026, 1030 (1989) (quoting Caminetti v. United


1
  A residential mortgage transaction “means a transaction in which a mortgage, deed of trust, purchase money
security interest arising under an installment sales contract, or equivalent consensual security interest is created or
retained against the consumer’s dwelling to finance the acquisition or initial construction of such dwelling. 15
U.S.C. 1602(x).

                                                            6
      Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 7 of 30




States, 242 U.S. 470, 485, 37 S.Ct. 192, 194 (1917)). The question posed by Roland, “whether or

not he, acting as an agent for homeowners and also acting as Trustee on their behalf, had the right

to assist homeowners in unilaterally rescinding and unwinding their mortgages after proper

notification was given to the lenders/creditors/loan servicers without filing an action in court” is

answered in the plain text of TILA. 2 (Dkt.70 p.8). See also Merritt v. Countrywide Financial

Corp., 759 F.3d 1023, 1029 n.7 (9th Cir. 2014) (TILA does not apply to residential mortgages used

to finance the initial acquisition or construction of a dwelling).

         Although Roland proclaims that his conduct was “authorized by the Deeds of Trust and

TILA and related law” and that his “process was executed lawfully,” in 46 pages Roland failed to

demonstrate that any of these laws or forms authorize the creation and filing of deed documents

which falsely purport that the lender assigned and transferred their interest in the property to a

nonexistent entity. (Superseding Indictment Dkt.5 p.13 ⁋ 18). Roland has not identified the law

that permitted the deed assignment to be signed by Roland’s employee as if she was a

representative of the lender, or that allowed the false notarization of the alleged signature of the

lender. (Dkt.5 p.4 ⁋ 13 & p.5 ⁋ 14). Roland has not specifically identified the portion of the law

which authorized him to create and file a deed document which purported to transfer the ownership

of the residence from the nonexistent entity to Annanias & Sapphira Investors Group, LLC., a

company incorporated in Roland’s alias, Joshua Stein. (Dkt.5 p.6 ⁋ 15). Roland’s motion does not

identify any law permitting the creation and filing of a Deed of Trust which falsely claimed

Annanias & Sapphira Investors Group, LLC obtained a mortgage loan from another entirely

fictional lender entity, InterBank Loan Servicing Corp. (Dkt.5 p.7 ⁋ 17).


2 Although Roland cites Jesinoski v. Countrywide Home Loans, Inc., 574 U.S. 259, 135 S.Ct. 790 (2015) as his

authority for unilateral recission, Jesinoski only held that “a borrower need not file a TILA lawsuit within three
years, and rather, TILA’s three-year requirement refers to the period within which the borrower must notify the
lender of her intent to rescind.” Macklin v. Deutsch Bank National Trust Co., 2015 WL 9274103.

                                                          7
      Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 8 of 30




         Despite Roland’s efforts to portray his conduct as a duly authorized administrative process

which the government has mistaken for a fraud scheme, his argument that the court must dismiss

the indictment for lack of jurisdiction fails. Jurisdiction arises from the cause of action. In this case

the cause of action is a criminal indictment returned by a federal grand jury.

         This Court’s jurisdiction is found in the U.S. Constitution. Article III of the Constitution

extends the federal judicial power to all cases in law and equity “arising under” the laws,

Constitution, and treaties of the United States. In the Judiciary Act of 1789, Congress granted the

federal trial court’s jurisdiction over all crimes and offenses that are cognizable under the authority

of the United States.

         A court’s jurisdiction is predicated upon a specific case or controversy. The court has

jurisdiction to preside over this case and this defendant, since Roland is charged with violations of

federal criminal statutes. See U.S. Const. art. 3, § 2, cl.1. 3

         B. Selective and Vindictive Prosecution

         The prosecution has broad discretion to initiate and conduct criminal prosecutions due to

the separation of powers doctrine. United States v. Armstrong, 517 U.S. 456, 464, 116 S.Ct. 1480,

1486 (1996). “In our system, so long as the prosecutor has probable cause to believe that the

accused committed an offense defined by statute, the decision whether or not to prosecute, and

what charge to file or bring before a grand jury, generally rests entirely in his discretion.”

Bordenkircher v. Hayes, 434 U.S. 357, 364, 98 S.Ct. 663, 668 (1978).

         Roland alleged that the government is acting with malice and has been vindictive and


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  As part of his jurisdictional argument, Roland claims the government was required to intervene pursuant to Rule
24, Fed. R. Civ. P. Although Rule 24 is a federal district court rule of procedure, Roland does not specify what court
proceeding the government failed to intervene in. Importantly, Roland did not initiate court proceedings to take the
lienholder’s interest in the residential properties. His argument further overlooks the fact he used aliases, nonexistent
entities and business entities he had others create so that his role and identity in this “process” would be obscured.
When the lenders and lienholders did initiate lawsuits after discovering their secured interest had been sold out from
under them, Roland did not voluntarily appear in court and take part in the court proceedings.

                                                           8
     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 9 of 30




selective in its prosecution of Roland. “A selective-prosecution claim is not a defense to the merits

of the criminal charge itself, but an independent assertion that the prosecution brought the charges

for reasons forbidden by the Constitution.” Armstrong 514 U.S. at 464, 116 S.Ct. at 1486. The

exercise of some selectivity in enforcement is not itself a constitutional violation so long as the

selection was not deliberately based upon an unjustifiable standard. Oyler v. Boyles, 368 U.S. 448,

456, 82 S.Ct. 501, 506 (1962). Roland must demonstrate that the prosecutorial policy or decision

“had a discriminatory effect and was motivated by a discriminatory purpose.” Armstrong 514 U.S.

at 465, 116 S.Ct. at 1487 (citing Oyler, 368 U.S. at 456, 82 S.Ct., at 506). Roland has made no

such showing to sustain a claim of selective prosecution.

       Roland begins his argument stating the government in prosecuting him is being malicious,

vindictive and selective because we do not agree with or adopt his defensive theory that his conduct

was civil and not criminal. He also states, without any offer of proof, that he “was singled out for

prosecution in a jurisdiction and venue, that clearly has a different form of Judicial Foreclosure

action rather than the Non-Judicial Foreclosure action in the venues that Mr. Roland actually

operated in.” (Dkt.70 p.26). Roland’s argument is without merit. The criminal charges are not

based upon foreclosure rules or practices and those rules and practices are irrelevant to this case.

There was not technical or tactical advantage in indicting this case in the Southern District of Texas

on the basis of foreclosure rules. “Any offense against the United States begun in one district and

completed in another, or committed in more than one district, may be inquired of and prosecuted

in any district in which such offense was begun, continued, or completed.” Title 18, U.S.C. §

3237(a).

       Roland has also raised a claim of prosecutorial vindictiveness. To establish prosecutorial

vindictiveness, Roland must show either (1) actual vindictiveness or (2) show sufficient facts to



                                                  9
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 10 of 30




create a presumption of vindictiveness. Jordan v. Epps, 756 F.3d 395, 406 (5th Cir. 2014), (citing

United States v. Saltzman, 537 F.3d 353, 359 (5th Cir. 2008)). Roland made no showing of either

actual vindictiveness or facts which would create a presumption of vindictiveness.

       Roland lists his grievances for events he claims happened during the three prosecutions.

(Dkt.70 pp.27&28). First, he accuses the investigative agents of mischaracterizing statements he

made in the EDTX concerning documents he filed regarding the residential properties. While he

now denies admitting to agents that he filed fraudulent documents and is offended by the testimony

of FBI Special Agent Hanley as a rebuttal witness in the San Diego trial, there is documentary

proof of such an admission. Although he ultimately backed out of a guilty plea, Roland signed

both a plea agreement (Exhibit D) and a written factual basis in the EDTX. The factual basis

described the use of fraudulent documents in the scheme to defraud. (Exhibit E).

       According to Roland, the government has intimidated witnesses. (Dkt.20 p.28).

Interestingly, Roland made a similar allegation about the San Diego County, California, District

Attorney’s Office during his testimony in San Diego. See Excerpt from Roland’s San Diego trial

testimony, (Exhibit F p.70 ln.15-28; p.71 ln 1&17-27). Prosecutors and law enforcement agents

have not engaged in witness intimidation.

       Roland accuses the government of impeding his defense by shuttling him around the

country and having him detained. (Dkt.20 p.28). Roland was serving an 11-year prison sentence

when he was brought to Houston on a writ of habeas corpus ad prosequendum to stand trial in this

case. Once he came into the custody of the United States Marshal’s Service in Houston, he

remained in Houston until he was released on bond recently. The only other occasion Roland was

moved from one prison to another, was on a writ from the EDTX to stand trial on an indictment




                                               10
        Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 11 of 30




brought in the Sherman Division. He was returned to the custody of San Diego County, California

after the EDTX indictment was dismissed.

           There was no concerted effort to ping pong Roland around the country to various prison

facilities in order to gain some advantage. Roland was transferred only upon court order and only

as needed.

           Roland has not established that this prosecution is vindictive. His complaints individually

and in combination simply do not create a presumption of vindictiveness.

           C. Defect in Indictment

           Roland asserts that the indictment is defective because it does not set out his defensive

theory. He claims the indictment should set out that he was simply engaged in a civil process

following certain procedures to achieve his desired outcome. (Motion to Dismiss Dkt.70 p. 23).

Roland opines that the indictment should reflect that he was a “duly appointed Trustee” executing

documents as any other experienced Trustee would execute documents in similarly situated

position.” 4 (Dkt.70 p.19). He also asserts that the indictment is defective for failing to specify or

otherwise set out what he characterizes as exculpatory evidence, that is his assertions concerning

his intentions in following his proprietary process and his claim that he was doing so under the

auspices of TILA, RESPA and other consumer protection regulations. 5 (Dkt.70 p.23). Roland is

making factual arguments masquerading as legal claims.

           Finally, Roland argues that assuming the government’s factual allegations are true, his

conduct did not violate federal criminal law because he relied upon his understanding of 15 U.S.C.


4 Roland was not a “duly appointed” Substitute Trustee. The Appointment of Trustee documents filed in the
county property records were a fabrication and relied on a chain of fabricated documents generated under the false
pretense the lender/lienholder had knowingly given up or assigned their interest in the property to a nonexistent
entity that Roland made up out of whole cloth. This sham was just another step in Roland’s “process” of getting his
hands on the residential property so he could convert it to cash.
5
    At trial, Roland may testify regarding his intent.

                                                         11
     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 12 of 30




§ 1635 and provisions in the deeds of trust he believed authorized his conduct. (Dkt.70 p.42).

Factual disputes cannot be the basis of a dismissal of charges. United States v. Fontenot, 665 F.3d

640, 644 (5th Cir. 2011). It is the function of the fact finder at trial to accept or reject Roland’s

contentions regarding his intent after hearing all the admissible evidence.

       The indictment is not deficient. It is well settled that an indictment is sufficient “if it, first,

contains the elements of the offense charged and fairly informs a defendant of the charge against

which he must defend, and, second, enables him to plead an acquittal or conviction in bar of future

prosecutions for the same offense.” Hamling v. United States, 418 U.S. 87, 117, 94 S.Ct. 2887,

2907 (1974); see United States v. Serna, 688 F. App'x 241, 242 (2017) (unpublished). An

indictment is generally sufficient if it sets out the offense in the words of the statute, as long as it

sets forth all the essential elements. United States v. Resendiz-Ponce, 549 U.S. 102, 109, 127 S.

Ct. 782, 789 (2007). While an indictment “must set forth the offense with sufficient clarity and

certainty to apprise the accused of the crime with which he is charged,” the “test for sufficiency is

not whether the indictment could have been framed in a more satisfactory manner, but whether it

conforms to minimum constitutional standards.” United States v. Kay, 359 F.3d 738, 742 (5th

Cir. 2004) (internal quotation marks omitted). An indictment conforms to minimum constitutional

standards when it “(1) contain[s] the elements of the offense charged and fairly inform[s] a

defendant of the charge against which he must defend, and (2), enable[s] him to plead an acquittal

or conviction in bar of future prosecutions for the same offense.” Kay, 359 F.3d at 742 (internal

quotation marks omitted) (alteration marks in original omitted). These requirements are more

than satisfied by the detailed superseding indictment in this case.

       Since Roland is not charged with violating a civil process, the indictment need not discuss

TILA, or Roland’s proprietary process. Roland’s argument that the indictment is deficient is an



                                                  12
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 13 of 30




attempt to litigate a factual dispute through a legal motion. The alleged deficiencies in the

indictment simply do not exist. Most importantly, the indictment explicitly provides notice to

Roland as to the allegations specific to his criminal conduct. Roland’s concerns are factual

disputes to be settled by the jury, not by this Court on a pretrial motion to dismiss the indictment.

See, e.g., Kay, 359 F.3d at 742.

       D. Grand Jury Proceedings

       Roland next claims the grand jury should have been told the name of his company, “TILA

Corp.”, which according to Roland would have “suggested” to the grand jury that he was operating

under a civil process. (Dkt.70 p.24). It is notable however, that Roland did not use “TILA Corp”

in any of the transactions listed in the indictment. That name did not appear on any of the

documents executed, nor were TILA Corp. bank accounts used to receive proceeds from the

fraudulent sales of the residential properties. (Superseding Indictment, Dkt.5).

       Roland suggests that the grand jury should have been shown copies of “Phased

Documents” that “might have been exculpatory.” He also claims the grand jury should have been

informed of his “thoughts” or “intents” as they relate to the actions Roland was taking in his

proprietary process. (Dkt.70 p.25).

       The documents and testimony that Roland argues should have been presented to the grand

jury do not exculpate the defendant. The grand jury does not meet to determine guilt or innocence,

“but to access whether there is adequate basis for bringing a criminal charge.” United States v.

Williams, 504 U.S. 36, 51, 112 S.Ct. 1735, 1744 (1992); see United States v. R. Enterprises, Inc.,

498 U.S. 292, 298, 111 S.Ct. 722, 726 (1991) (The task of the grand jury is to conduct an ex parte

investigation to determine whether or not there is probable cause to prosecute a particular

defendant. The rules of an adversary hearing on the merits do not necessarily advance the mission



                                                13
       Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 14 of 30




of the grand jury and therefore do not apply). The Fifth Amendment does not proscribe the kind

of evidence upon which a grand jury must act. Costello v. United States, 350 U.S. 359, 362, 76

S.Ct. 406, 408 (1956). An indictment valid on its face is not subject to challenge on the ground

that the grand jury acted on the basis of inadequate or incomplete evidence. Id., 350 U.S. at 363,

76 S.Ct. at 408-09.

          Although the information Roland complains was not presented to the grand jury was not

exculpatory 6, the Supreme Court previously addressed the obligation of prosecutors to present

exculpatory evidence to the grand jury. In Williams, 504 U.S. 36, 112 S.Ct. 1735 (1992), the

Supreme Court granted certiorari on the question whether an indictment may be dismissed because

the government failed to present exculpatory evidence to the grand jury. The Williams court held

there is no legal obligation on prosecutors to present exculpatory evidence to the grand jury.

“[R]equiring the prosecutor to present exculpatory as well as inculpatory evidence would alter the

grand jury’s historical role, transforming it from an accusatory to an adjudicatory body.” Williams

at 51; see Respulica v. Shaffer, 1 U.S. (1 Dall.) 236, 1 L.Ed. 116 (O.T.Phila.1788) (the grand jury’s

function is not to try the defendant’s defenses).

          E. Interstate Agreement on Detainers Act

          Roland seeks dismissal claiming the United States violated the Interstate Agreement on

Detainers Act (Agreement), when he was returned to California from the Eastern District of Texas

without first being tried on the charges in the Eastern District. § 2, 18 U.S.C. App. 2, Pub.L. 91-

538. The Assistant U.S. Attorneys in the EDTX, as well as in the SDTX, each sought a court

authorized writ of habeas corpus ad prosequendam to arrest and move Roland to U.S. Marshal’s

custody in the respective cases.



6   Federal prosecutors do endeavor to present truly exculpatory evidence to grand juries.

                                                          14
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 15 of 30




       The anti-shuttling provision of the Agreement is violated under two conditions—when a

prisoner, who is serving a sentence in the sending state and indicted in the receiving state, is (1)

transferred to the receiving state based on its lodging a detainer against him and requesting custody

(Art.IV(a)), and then (2) returned to the original place of imprisonment before standing trial on the

untried indictment. (Art. IV(e)). United States v. Pursley, 474 F.3d 757 (10th Cir.), cert. denied,

552 U.S. 829, 128 S.Ct. 47 (2007). There is no shuttling violation under the Agreement where

there is no detainer lodged.

       The government has been able to confirm that there was never a detainer lodged by the

United States putting another jurisdiction on notice that Roland was wanted for trial in Texas. See

Affidavit of Special Agent Conner (Exhibit G).    Since there was no detainer, the United States is

not bound by the Agreement. United States v. Mauro, 436 U.S. 340, 98 S.Ct. 1834 (1978); see also

Martin v. Pittman, 244 Fed.Appx. 597, 601 (5th Cir. 2007) unpublished. In Mauro, the Supreme

Court reversed the Second Circuit who had affirmed a district court’s dismissal of the indictment.

The district court erroneously ruled that a writ of habeas corpus ad prosequendam is a detainer

entitling the state inmate to the protection provided in the Agreement, specifically a trial before

his return to a state prison. 436 U.S. at 345, 98 S.Ct. at 1840. The Mauro court reaffirmed the

authority of district courts to grant writs to bring prisoners to court for trial and highlighted the

differences between writs and detainers and why they are treated differently under the Agreement.

436 U.S. at 357, 98 S.Ct. at 1845-46.

                1. EDTX

       On November 9, 2017, Roland made his initial appearance in the EDTX after being moved

from an in-custody status in San Diego County, California to Sherman, Texas, on a writ of habeas

corpus ad prosequendam. (EDTX 4:17-cr-177 Dkt.29). After the detention hearing, the U.S.



                                                 15
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 16 of 30




Magistrate Judge in the EDTX ordered Roland detained pending trial. (EDTX 4:17-cr-177

Dkt.35&36).

       On November 9, 2017, Roland’s trial was set for December 1, 2017. (EDTX 4:17-cr-177

Dkt.32). That order was amended several times. (EDTX 4:17-cr-177 Dkt.37,38,40).                 The

Superseding indictment was returned February 14, 2018. (EDTX 4:17-cr-177 Dkt.41). On April

13, 2018, an Agreed Motion to Declare the Case Complex was filed. (EDTX 4:17-cr-177 Dkt.49).

The case was declared complex on April 19, 2018, and an order setting a trial date of September

17, 2018 was entered. (EDTX 4:17-cr-177 Dkt.52-54).

       Roland’s counsel filed an Assertion of Right to Speedy Trial on May 21, 2018. (EDTX

4:17-cr-177 Dkt.62). In the speedy trial request, the court was informed that “Counsel and Mr.

Roland are in agreement with the current trial setting date but prays that it be a priority trial and

not be reset any further.” On May 29, 2018, Roland signed the Factual Basis. (Exhibit E). The

following day, Roland signed a written plea agreement. (Exhibit D). On June 18, 2018, the court

was notified that a plea agreement had been reached between Roland and the government. (EDTX

4:17-cr-177 Dkt.67). A change of plea hearing was scheduled before the Magistrate Judge for July

17, 2018. On July 16, 2018, Roland through counsel asked for a plea hearing before the district

court rather than the Magistrate. (EDTX 4:17-cr-177 Dkt.69). On July 17, 2018, a change of plea

hearing was re-scheduled before the district court for July 24, 2018.

       The day before the scheduled plea, Roland moved for change of venue. (EDTX 4:17-cr-

177 Dkt.70). The government had made Roland aware of venue issues in the EDTX at least by

May 29, 2018. (Exhibit G). On August 7, 2018, the EDTX AUSA filed an unopposed Motion to

Dismiss the indictment without prejudice. (EDTX 4:17-cr-177 Dkt.71). The Motion to Dismiss

without prejudice was granted on August 8, 2018. (EDTX 4:17-cr-177 Dkt.72). After the dismissal



                                                16
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 17 of 30




of the EDTX indictment was ordered, Roland was returned to California to stand trial on the San

Diego County indictment.

                2. SDTX

       After Roland’s sentencing in the San Diego County, California, case in early 2019, a writ

of habeas corpus ad prosequendam was request by the government in this case. (SDTX 4:18-cr-

710 Dkt.4).

Roland had his initial appearance before the Magistrate Judge on April 29, 2019. (SDTX 4:18-cr-

710 Dkt.9). At the time of his detention hearing in this case, Roland was serving an 11-year

sentence in California at the Chuckawala State Prison. (SDTX 4:18-cr-710 Dkt.16&18; Exhibit

A). Roland remained in the custody of the U.S. Marshal in the SDTX until he was released on

bond in May 2021. (SDTX 4:18-cr-710 Dkt.65).

       F. Speedy Trial

       Under the Speedy Trial Act (“Act”), the government must “commence” the trial against a

defendant who has entered a plea of not guilty within “seventy days from the filing date (and

making public) of the information or indictment, or from the date the defendant has appeared

before a judicial officer of the court in which such charge is pending, whichever date last occurs.”

18 U.S.C. § 3161(c)(1). Accounting for the fact that some cases may require more time to prepare

for trial, the Act excludes from the 70-day period all days lost to certain types of delay. See Bloate

v. United States, 559 U.S. 196, 203 (2010); 18 U.S.C. § 3161(h). This statutory scheme ensures

that the district courts may grant necessary pretrial motion preparation time without risking

dismissal. Bloate, 559 U.S. at 214. The delays in this case are not due to the actions of the

government.




                                                 17
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 18 of 30




           1. Delay Due to Defense Motions for Continuance

       The Act specifically excludes from the 70-day period “[a]ny period of delay

resulting from a continuance granted by any judge on his own motion or at the request of

the defendant or his counsel, or at the request of the attorney for the Government, if his

findings that the ends of justice served by taking such action outweigh the best interest of

the public and the defendant in a speedy trial.” 18 U.S.C. § 3161(h)(7). This provision

furnishes much of the Act’s flexibility because it “gives the district court discretion –

within limits and subject to specific procedures—to accommodate limited delays for case-

specific needs.” Zedner v. United States, 547 U.S. 489, 498-99, 126 S.Ct. 1976, 1984

(2006). The Act requires the district court to make findings on the record explaining why

it granted the continuance:

           No such period of delay resulting from a continuance granted by the court in
           accordance with the paragraph shall be excludable under this subsection unless
           the court sets forth, in the record of the case, either orally or in writing, its
           reasons for finding that the ends of justice served by the granting of such
           continuance outweigh the best interests of the public and the defendant in a
           speedy trial.

18 U.S.C. § 3161(h)(7)(A).

       The Supreme Court has held, however, that “the Act is clear that the findings must be made,

if only in the judge’s mind, before granting the continuance.” Zedner, 547 U.S. at 506-07, 126 S.Ct.

at 1989 (emphasis added). The Court concluded that “at the very least the Act implies that those

findings must be put on the record by the time a district court rules on a defendant’s motion to

dismiss under § 3162(a)(20).” Id.; see also United States v. Dignam, 716 F.3d 915, 921-22 (5th

Cir. 2013); United States v. Harris, 566 F.3d 422, 431 (5th Cir. 2009). “A judge’s finding that a

continuance would best serve the ends of justice is a factual determination subject to review under

the clearly erroneous standard.” United States v. Eakes, 783 F.2d 499, 503 (5th Cir. 1986).

                                                18
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 19 of 30




           2. Delay Due to Filing of Pretrial Motions

       The Act also excludes (1) “delay resulting from any pretrial motion, from the filing of the

motion through the conclusion of the hearing on, or other prompt disposition of, such motion;”

and (2) “delay reasonably attributable to any period, not to exceed thirty days, during which any

proceeding concerning the defendant is actually under advisement by the court.” 18 U.S.C. §

3161(h)(1)(D), (H). Motions that require a hearing toll the clock from filing through the hearing,

as well as for a 30-day post-hearing period during which the court may take the matter under

advisement. Henderson v. United States, 476 U.S. 321, 106 S.Ct. 1871 (1986).

       “[D]elay resulting from any pretrial motion, from the filing of the motion through the

conclusion of the hearing on . . . such motion” “implicitly extends to ‘that time after a hearing

needed to allow the trial court to assemble all papers reasonably necessary to dispose of the

motion[.]’” Harris, 566 F.3d at 429 (quoting United States v. Johnson, 29 F.3d 940, 943 (5th Cir.

1994) (citing Henderson, 476 U.S. at 330-31, 106 S.Ct. at 1877)). At that point, the court has

taken the motion under advisement and thus has thirty excludable days in which to rule, pursuant

to § 3161(h)(1)(H). Harris, 566 F.3d at 429; see also United States v. Stephens, 489 F.3d 647, 656

(5th Cir. 2007).

       During the pendency of this case Roland has moved numerous times to continue scheduling

deadlines and trial dates. (SDTX 4:18-cr-710 Dkt.24,28,36). After Roland’s third motion to

continue the trial, the court, on October 21, 2019, set a trial date of April 1, 2020. (SDTX 4:18-

cr-710 Dkt.37). Trial did not begin as scheduled because of Covid-19. Additional trial dates were

canceled and rescheduled due to the pandemic. (SDTX 4:18-cr-710 Dkt.51,52&55). The most

recent request by Roland to extend deadlines occurred on April 30, 2021. (SDTX 4:18-cr-710

Dkt.58). On May 10, 2021, during the hearing on Roland’s Motion to Revoke Detention, the court



                                               19
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 20 of 30




set a new trial date and motions deadlines and issued a written order to that effect. (SDTX 4:18-

cr-710 Dkt.66&67). A defendant is not prejudiced by the delay where he “requested, accepted and

benefitted” from the delay. United States v. Westbrook, 119 F.3d 1176, 1188 (5th Cir. 1997).

          This case has also been certified complex which further permits the Court to exclude time

under the Speedy Trial Act. See 18 U.S.C. § 3161(h)(7)(B)(ii). (Dkt.35). As the Supreme Court

noted, “the delay that can be tolerated for an ordinary street crime is considerably less than for a

serious, complex conspiracy charge.” Barker v. Wingo, 407 U.S. 514, 531, 92 S.Ct. 2182, 2192

(1972).

          Roland’s initial appearance in Houston was on April 29, 2019. His trial was scheduled to

begin June 24, 2019. (Dkt.17). A month prior to that trial setting, Roland began seeking extensions

and continuances as described more fully below:

   DATE                                      EVENT                                 RECORD
                                                                                  4:18-cr-710
 5/17/2019 Roland’s sealed filing with attachments                                  Dkt. 20
 5/23/2019 Roland’s Motion for Extension of Time to file Motions and                Dkt. 22
            Responses
 6/3/2019   Sealed hearing                                                          Dkt. 26
 6/4/2019   Order to Continue in the Interest of Justice; new trial date            Dkt. 27
            8/12/2019
 7/22/2019 Roland’s Motion to Continue Trial for approximately 75 days              Dkt. 28
 7/23/2019 Sealed filing with attachments                                           Dkt. 29
 7/24/2019 Order to Continue in the Interest of Justice; new trial date             Dkt. 30
            11/18/2019
 7/24/2019 Sealed Order                                                             Dkt. 31
 8/1/2019   Sealed Order                                                            Dkt. 32
 10/16/2019 Roland’s Motion to Certify Case Complex                                 Dkt. 35
 10/16/2019 Roland’s Motion for Continuance until March 2, 2020                     Dkt. 36
 10/21/2019 Order to Continue in the Interest of Justice; new trial date 4/1/2020   Dkt. 37
            and Order Certifying Case as Complex
 2/26/2020 Sealed filing with attachments                                           Dkt. 41
 3/3/2020   Motion for Pretrial Notice of 404(b) evidence                           Dkt.43
 3/3/2020   Motion for Jencks Act Material                                          Dkt. 44
 3/3/2020   Motion to Produce Expert Testimony Summary                              Dkt. 45
 3/16/2020 Joint Motion to Continue trial 60 days due to COVID-19                   Dkt. 46
 3/17/2020 Sealed hearing                                                           Dkt. 47

                                                 20
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 21 of 30




 3/18/2020  Order to Continue in the Interest of Justice; new trial date              Dkt. 48
            6/15/2020
 5/19/2020 Joint Motion to Continue due to COVID-19 requesting September              Dkt. 49
            2020 trial date
 5/19/2020 Order to Continue in the interest of justice; new trial date 9/29/2020     Dkt. 50
 8/10/2020 Roland’s Motion to Continue for 90 days                                    Dkt. 51
 8/11/2020 Order to Continue in the interest of justice; new trial date 1/11/2021     Dkt. 52
 11/25/2020 Roland’s Agreed Motion for Continuance due to COVID-19 for                Dkt. 54
            120 days
 12/7/2020 Order granting joint motion for continuance in the interest of             Dkt. 55
            justice; new trial date June 1, 2021
 4/22/2021 Sealed filing with attachments                                             Dkt. 56
 4/27/2021 Sealed hearing                                                             Dkt. 61
 4/30/2021 Roland’s Motion for Extension of Time to File Motions and                  Dkt. 58
            Responses
 5/3/2021   Motion to Revoke Detention Order                                          Dkt. 59
 5/6/2021   Response in Opposition to Motion to Revoke Detention Order                Dkt. 62
 5/10/2021 Motion hearing granting Motion to Revoke Detention Order                   Dkt. 66
 5/11/2021 Order to continue in the interest of justice; new trial date 9/27/2021     Dkt. 67
 6/8/2021   Pro Se Omnibus Motion to Dismiss                                          Dkt. 70
 6/8/2021   Motion for Bill of Particulars                                            Dkt. 72


There have been several sealed filings which were not served on the government and sealed

hearings which the government did not attend. These sealed events are included in the above list

in the event the Court finds them relevant to the excludable delay analysis.

             3. Delays from the Pandemic

       During the COVID-19 pandemic, Roland sought and received three continuances. These

motions documented the need to protect Roland’s health during the pandemic, the fact that the

case is complex, that many witnesses would have to travel from other states to testify, as well as

the health risks to all who would be involved in the trial. In each instance the court granted the

continuances after finding that the ends of justice served by the granting of such continuance

outweighed the best interests of the public and the defendant in a speedy trial.

                   a. Judicial measures taken in response to the COVID-19 pandemic



                                                21
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 22 of 30




       As part of its pandemic response, the Houston Division of the Southern District of Texas

suspended all jury trials between March 17, 2020 and May 10, 2021. On March 17, 2020, Special

Order H-2020-6 for the Houston and Galveston Divisions of the Southern District of Texas was

issued continuing all jury trials through May 1, 2020, due to the COVID-19 pandemic and the

spread of the virus within the Houston and Galveston Divisions. “Due to the court’s reduced ability

to obtain an adequate spectrum of jurors and due to the reduced availability of attorneys and court

staff to be present in courtrooms because of the public-health risks, the periods of the continuances

implemented by this order are excluded under the Speedy Trial Act, 18 U.S.C. § 3161(H)(7)(A).

The court finds that the ends of justice served by ordering these continuances outweigh the interest

of public and of each defendant in a speedy trial. Indeed, the best interests of the public are served

by these continuances.” See Special Order H-2020-6 ⁋ 2.

       Supplemental Orders were issued continuing jury trials and excluding those periods under

the Speedy Trial Act in which the court made findings that the ends of justice were served by

ordering these continuances. See Special Orders H-2020-09; H-2020-13; H-2020-16; H-2020-18;

H-2020-20; H-2020-22; H-2020-23; H-2020-24; H-2021-01; H-2021-3 and H-2021-11.

       The Twelfth Supplemental Order was issued April 15, 2021, stating jury trials may resume

May 10, 2021, using a phased approach to resuming jury trials recognizing the need to protect the

health and safety of all participants to minimize the risk of COVID-19 exposure which gives

priority to criminal matters. See Special Order H-2021-12.

       From time to time the Bob Casey U.S. Courthouse in Houston had to be closed to the public

and much of the staff to protect the health and safety of the public, staff, and judicial officers due

to COVID-19. See Special Orders H-2020-08; 2020-10; 2020-11; 2020-12; 2020-14 and 2020-19.




                                                 22
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 23 of 30




       Even under these emergency circumstances, the Southern District of Texas District Court

endeavored to continue operations. The court ensured matters relating to this case were addressed,

including entertaining Roland’s motions, holding hearings and issuing orders.

       Prior to the pandemic, the Fifth Circuit had upheld ends-of-justice continuances due to

emergencies. United States v. Hale, 685 F.3d 522, 533-36 (5th Cir. 2012) (medical emergency of

the agent/witness was unforeseen and unavoidable was sufficient to satisfy the requirements of an

ends-of-justice continuance under § 3161(h)(7)(A)); United States v. Scott, 245 F. App’x 391, 394

(5th Cir. 2007), unpublished (hurricane Katrina continuances were excludable delay). The record

affirmatively reflects that any and all delays from the time of Roland’s initial appearance to the

present are all excludable delays under 18 U.S.C. § 3161(h).

            4. Speedy Trial Assertion

       Roland has neither timely or vigorously demanded a speedy trial in this case. Barker v.

Wingo, 407 U.S. 514, 531-32, 92 S.Ct. 2182, 2192-93 (1972). He waited to file his motion to

dismiss the indictment on speedy trial grounds, over two years after his initial appearance in

Houston, and after filing seven motions to continue the trial date and other deadlines, two motions

to extend his motions deadline, and a motion to certify this case as complex. “At the very least,” a

defendant “should manifest ‘his desire to be tried promptly.’” United States v. Frye,489 F.3d 201,

211–12 (quoting United States v. Litton Sys., Inc., 722 F.2d 264, 271 (5th Cir. 1984)). If a

defendant waits too long to assert his right, his “silence will be weighed against him.” United

States v. Duran-Gomez, 984 F.3d 366, 378 (5th Cir. 2020) (quoting United States v. Parker, 505

F.3d 323, 329–30 (5th Cir. 2007)).

       Roland points to a notice he filed in the EDTX titled “Assertion of Right to Speedy Trial”,

as proof this court should have been on notice he wanted a trial within 70 days of his initial



                                                23
     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 24 of 30




appearance in Houston. Of course, his repeated requests for continuances and extensions of time

are inconsistent with such an assertion. “It can hardly be said that a defendant’s many motions for

continuance represent someone ‘aggressively asserting his desire to be tried promptly.’” Duran-

Gomez, 984 F.3d at 378 (quoting Frye, 489 F.3d at 212).

        Even the May 21, 2018 notice that Roland filed through counsel was less of an assertion

for an immediate trial and more of a request to proceed to trial on the scheduled date, September

17, 2018, which was almost four months in the future. It stated, “Counsel and Mr. Roland are in

agreement with the current trial setting date but prays that it be a priority trial and not be reset any

further.” (EDTX 4:17-cr-177 Dkt.62). Given Roland’s repeated requests for continuances

following the May 21, 2018 notice regarding his trial date, this document should be given little

weight. United States v. Young, 657 F.3d 408, 417 (6th Cir. 2011) (the court should look at the

defendant’s surrounding conduct in making the assessment of whether he actually wanted to have

a speedy trial).

        There were no further resets in the EDTX after this notice was filed. Prior to the filing of

this notice there had been several resets of the trial date by agreement of the parties and the case

was declared complex. (EDTX 4:17-cr-177 Dkt.37,40&52-54). An unopposed motion to dismiss

the indictment without prejudice was filed 42 days prior to the final trial setting. (EDTX 4:17-cr-

177 Dkt.71).

        The period of time between dismissal of the Sherman case and Roland’s initial appearance

on the Houston case is not applicable to a Sixth Amendment speedy trial claim. United States v.

MacDonald, 456 U.S. 1, 2,102 S.Ct. 1497, 1498-99 (1982); see also 18 U.S.C. 3161(h)(5).

             5. Prejudice

        Prejudice may be presumed in cases which have experienced years of delay. United States



                                                  24
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 25 of 30




v. Cardona, 302 F.3d 494, 498 (5th Cir. 2002) (delay longer than five years due to government

negligence gave rise to the presumption of prejudice). The first three Barker factors, length of

delay, reason for delay and defendant’s assertion of speedy trial right, should be used to determine

if prejudice is presumed or if it is the defendant’s burden to show prejudice. United States v.

Bergfeld, 280 F.3d 486, 490 (5th Cir. 2002). However, “presumptive prejudice cannot alone carry

a Sixth Amendment claim without regard to the other Barker criteria.” Doggett v. United States,

505 U.S. 647, 656, 112, S.Ct. 2686, 2693 (1992). In addition, the government may rebut the

presumption by proving the prejudice is “extenuated by the defendant’s acquiescence.” United

States v. Cardona, 302 F.3d at 498.

       The delays were not caused by government action but rather at the request of Roland.

United States v. Duran-Gomez, 984 F.3d 366, 374 (5th Cir. 2020) (A defendant can contribute to

delay by asking for continuances.) The Fifth Circuit has repeatedly pointed out, defendants who

contribute to delays by asking for continuances and then later claim a speedy trial violation, “will

not be heard to complain of a lapse of time attributable to continuances he sought and received

from the trial court.” Nelson v. Hargett, 989 F.2d 847, 852 (5th Cir. 1993); see also Robinson v.

Whitley, 2 F.3d 562, 569 (5th Cir. 1993) (weighing against a defendant his own motions for

continuance).

       Roland bears the burden of showing actual prejudice. See United States v. Serna-Villarreal,

352 F.3d 225, 230 (5th Cir. 2003). “Actual prejudice is assessed in light of the three following

interests of the defendant: (1) to prevent oppressive pre-trial incarceration; (2) to minimize anxiety

and concern of the accused; and (3) to limit the possibility that the defense will be impaired.”

Harris, 566 F.3d at 433 (5th Cir. 2009) (internal quotations omitted). Prejudice can be presumed

in certain circumstances.



                                                 25
       Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 26 of 30




                       a.    Pretrial Detention

          Roland claims he has been subjected to oppressive pre-trial incarceration stating he has

been detained a long distance from his family members whom he has been unable to visit regularly.

Roland’s claims of prejudice due to a pretrial order of detention should be viewed in the context

of his status as a prisoner of the State of California. At the time Roland was moved from the

California penitentiary to Houston, he was already serving an 11-year prison sentence. Had a

pretrial bond been set in this case, he would have remained in the custody of the U.S. Marshal’s

Service until California paroled or otherwise released him. The same is true for the EDTX case.

At the time he was brought to Sherman on a writ, he was in pretrial custody on the California

charges. Even after he was returned to California from the EDTX he remained in custody on the

California charges.

          There is no question that while awaiting trial in Houston, the pandemic resulted in greater

than normal restrictions at the Houston detention center. The restrictions at the Houston BOP

detention center were designed to protect the detainees as well as the staff from acquiring and

spreading COVID-19, and were modified as needed during the pandemic. 7 These types of

restrictions were enforced at prisons and detention centers across the nation. While the measures

did not keep all staff and defendants safe from exposure and sickness, the measures were necessary

and worked to lower the spread of the virus within the facility. Had Roland been housed in the

California penitentiary, similar measures would have been taken to restrict the inmates in order to

lower the risk of spread of the virus.

                            b.   Anxiety and Concern

          Roland claims he was prejudiced because in his opinion “the government and witnesses



7   https://www.bop.gov/coronavirus/covid19_status.jsp

                                                         26
     Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 27 of 30




have mischaracterized his conduct.” Disagreement by defendants with the charges and the

allegations regarding their intent are not unusual and hardly rise to the level of prejudice. He also

cites as contributing to his anxiety and concern the fact he was in custody during the pandemic.

Like other inmates serving an imposed sentence, life in a facility during the pandemic was more

difficult.

        Roland’s assertion of anxiety and concern due to delays in going to trial are undercut by

not only his failure to object to a single motion for continuance but by his repeated requests for

additional time, even during the pandemic.

                       c. Impairment of Defense

        Roland also asserts that because he was moved from location to location while in custody,

he lost documents he thought important for his defense. Roland has not specified that the “business

records,” “testimonials,” and “addresses and phone numbers of support witnesses” were

documents he only kept in his cell, or whether copies are otherwise available to him. The

government has made available to Roland all the records seized by California and Washington

State during the search of his apartment and storage unit, as well as documents collected from

those to whom he offered his services and collected a fee. Further, written testimonials are likely

not admissible evidence over hearsay objections and therefore no prejudice.

        Roland has made no showing that he currently is unable to contact a witness because he no

longer has an address or telephone number. He instead invites the court to speculate that it has

become impossible to make contact rather than just a momentary inconvenience. This type of

“speculative argument” is one the courts “are wary of in pre-trial, Sixth Amendment cases. Duran-

Gomez, 984 F.3d at 380. There is no real evidence that delays in getting to trial have impaired

Roland’s ability to defend against the charges. United States v. Valenzuela–Bernal, 458 U.S. 858,



                                                27
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 28 of 30




869, 102 S.Ct. 3440, 3447 (1982). To the contrary, he has benefited from his repeated requests

for continuances and extensions of time to file motions.

       G. Fifth Amendment

       To the extent Roland’s pro se motion also alleges a Fifth Amendment violation, he has not

met his burden to establish a due process violation or prejudice. Under the Fifth Amendment, a

defendant must demonstrate actual prejudice since none is presumed. United States v. Lovasco,431

U.S. 783, 789, 97 S.Ct. 2044, 2084 (1977).

       Roland attributes bad motives on the part of the government regarding the timing of the

Houston prosecution after the resolution of the San Diego case. In November or December 2018,

as Roland points out, he was given an opportunity prior to the start of his trial in California, and

prior to the Houston grand jury returning an indictment, to enter into plea negotiations with both

the San Diego District Attorney’s Office and the United States Attorney’s Office in the Southern

District of Texas to resolve the pending indictment in San Diego and the prospective charges in

Houston. (Dkt.70 pp.38&40). As is his right, he chose not to engage in negotiations and to proceed

to trial. The government did not gain a tactical advantage in returning an indictment after his San

Diego trial had begun but before he had been convicted.

       Once Roland chose to proceed to trial in San Diego, it would have been inappropriate, as

well as unfair to Roland, to physically remove him from that jurisdiction prior to the completion

of the San Diego prosecution, including sentencing. The day of the return of the superseding

indictment in Houston, a motion for a writ of habeas corpus ad prosequendam was filed by the

government requesting an order to have Roland brought to Houston to stand trial. (Dkt.4&5). Once

Roland was arraigned on these charges, he still could have availed himself of the opportunity to




                                                28
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 29 of 30




negotiate a plea agreement to have the federal and California sentences run concurrently but

instead made the decision to proceed in the manner he has.

       Further, Roland claims extreme prejudice by the subsequent indictment in Houston after

his San Diego state court trial had begun because evidence of his California conviction may be

offered in the Houston trial. Of course, the reverse of that argument would be made by Roland in

California had the Houston case been tried first. Regardless, the timing of Roland’s Houston

indictment, it was not based on the San Diego outcome or the prospect of a guilty verdict. Rather,

the timing was a result of the ongoing investigation of Roland and others, and the availability of

the prosecutor.

                                          IV.    Conclusion

       The Court’s jurisdiction arises from the criminal charges alleged in the indictment.

Roland’s claimed defense does not trigger jurisdiction in some other court or administrative body.

There have been no constitutional violations of Roland’s rights. There is no evidence of selective

prosecution or a prosecution motivated by vindictiveness. There have been no Fifth or Sixth

Amendment speedy trial violations pre or post indictment and no violation of the Speedy Trial

Act. There is no actual prejudice to Roland as a result of any delay. Roland’s assertions of defects

in the indictment are nothing more than a factual dispute which are not ripe for dismissal of an

indictment. Similarly, there were no violations in the grand jury proceedings that led to the

pending indictment which should lead to a dismissal of the indictment. There is no violation of the

Interstate Agreement on Detainers Act since no detainers were issued to California to hold Roland

for transport to Texas. Writs of habeas corpus ad prosequendam are not detainers. For all the




                                                29
    Case 4:18-cr-00710 Document 75 Filed on 06/22/21 in TXSD Page 30 of 30




reasons discussed in this response, Roland’s Omnibus Motion to Dismiss should be denied.


                                           Respectfully submitted,

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                                                  /s/John Braddock
                                           John Braddock, Assistant U.S. Attorney



                                        Certificate of Service

      I hereby certify that a copy of the United States’ Response in Opposition to Omnibus
Motion to Dismiss was served on David A. Nachtigall and David Adler, counsel for the
Defendant Clarence Roland, III, via ECF on June 22, 2021.

                                           /s/ Melissa J. Annis
                                           Melissa J. Annis
                                           Assistant United States Attorney




                                             30
